   23-50915-KMS Dkt 23 Filed 09/06/23 Entered 09/06/23 16:50:20 Page 1 of 3




                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI



    In re:                                                              Case No. 23-50915-KMS
                Timothy Wayne Davis,
                                                                                        Chapter 13
                Debtor.

                     MOTION FOR RELIEF FROM AUTOMATIC STAY
                      TO THE EXTENT OF INSURANCE COVERAGE

          Now into Court comes Movant, Anthony Clark, Jr. (“Clark”), by and through his attorneys,

The Stubbs Law Firm, PLLC, and respectfully moves this Honorable Court for relief from the

automatic stay pursuant to Title 11, U.S.C.§362, and to abandon the property pursuant to Title 11,

U.S.C.§554, as to liability insurance proceeds that would satisfy Clark’s claims asserted in pre-

petition litigation in the Circuit Court of Covington County, Mississippi, and in support thereof

states as follows:

          1.     On or about August 1, 2022, Clark was involved a motor vehicle wreck with the

Debtor, Timothy Wayne Davis in Covington County, Mississippi. As a result of the incident,

Clark suffered personal injuries, including, but not limited to, neck pain.

          2.     Debtor is a potential defendant in a lawsuit that would be filed in The Circuit Court

of Covington County, Mississippi, that would allege in part that the debtor caused or contributed

to the injuries of sustained by Clark as a result of the incident that occurred US Highway 84 in

Covington County, Mississippi.

          3.     Debtor filed his petition, pursuant to Chapter 13, on June 28, 2023.

          4.     At the time of the incident, Debtor was insured by an automobile insurance policy

through Direct General Insurance Company of Mississippi, which at all times was in full force and

effect.



                                             Page 1 of 3
   23-50915-KMS Dkt 23 Filed 09/06/23 Entered 09/06/23 16:50:20 Page 2 of 3




       5.      Debtor does not own an interest in the insurance proceeds from liability insurance

policies covering the acts and omissions of the Debtor as would be alleged in the personal injury

litigation, and therefore said proceeds are not property of this bankruptcy estate.

       6.      Relief from the automatic stay should, therefore, be granted in order to allow Clark

to pursue any and all claims for negligence to the extent of the limits provided by the available

insurance coverage.

       WHEREFORE, PREMISES CONSIDERED, Anthony Clark, Jr., respectfully requests

that this Honorable Court issue an order granting relief from the automatic stay pursuant to Title

11, U.S.C.§362, and to abandon the property pursuant to Title 11, U.S.C.§554, in order to allow

Clark to proceed with his claims against the Debtor, Timothy Wayne Davis, to the extent of the

insurance coverage available to Debtor for the acts and/or omissions alleged in the claims of

Anthony Clark, Jr.

       Dated: September 6, 2023.

                                                      Respectfully submitted,

                                                      Anthony Clark, Jr., Movant

                                                 By: s/Kannan Stubbs
                                                     Counsel for Movant
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                                            Page 2 of 3
   23-50915-KMS Dkt 23 Filed 09/06/23 Entered 09/06/23 16:50:20 Page 3 of 3




                                 CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system, which will send notification of such filing, via email to
the following:

       David Rawlings, Trustee – efcnotices@rawlings13.net

       Thomas Carl Rollins, Jr. – trollins@therollinsfirm.com
       Counsel for Debtor

       Office of the United States Trustee – ECF USTPRegion05.JA.ECF@usdoj.gov

       I certify that I have this day served a true and correct copy of the foregoing by U.S. Mail,
postage prepaid, and/or electronic transmission to the following:

       None

       This the 6th day of September, 2023.

                                                      s/Kannan Stubbs
                                                      KANNAN STUBBS, MB No. 103492




                                            Page 3 of 3
